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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MICHIGAN

IN RE:                                      §
                                            §
Robert George Esdale                        §     CASE NO. 18-02082
                                            §     HON. Scott W Dales
   Debtor(s)                                §
                                            §

      ORDER GRANTING MOTION TO REDUCE NOTICE TIME FOR THE DEBTOR’S
             MOTION TO INCUR DEBT AND REFINANCE MORTGAGE

This matter comes before the court on the Debtor’s Motion to Reduce Notice Time for the
Debtor’s Motion Incur Debt and Refinance Mortgage [Dkt. No. 37] (the “Motion to Shorten”)
filed by Jeffrey D. Mapes, PLC (the “Movant”), on behalf of Robert G. Esdale. The Motion to
Shorten seeks to reduce the notice period in connection with the Debtor’s Motion to Incur Debt
and Refinance Property [Dkt. No. 36] (the “Motion”) separately filed by the Movant.

The court has reviewed the Motion to Shorten and finds that a hearing is unnecessary. The
Motion to Shorten sufficiently demonstrates cause for reduction of the notice period as required
by Fed. R. Bankr. P. 9006(c) and LBR 9013(i).

NOW, THEREFORE, IT IS HEREBY ORDERED that the Motion to Shorten is granted.

IT IS FURTHER ORDERED that a hearing on the Motion shall be held on _______ at _______
(Eastern) at the United States Bankruptcy Court for the Western District of Michigan,
[LOCATION OF COURT].

IT IS FURTHER ORDERED that any objection to the Motion shall be filed with the court and
served on requisite parties by no later than ______ at ______ (Eastern).

IT IS FURTHER ORDERED that in the event no objections are timely filed, the Movant may
file a certificate of no objection, in which case the court may enter an order approving the relief
sought without the need for a hearing.

IT IS FURTHER ORDERED that the Movant shall serve a copy of this Order, the Motion and
all documents related thereto upon requisite parties via first class mail by no later than _______.

                                       END OF ORDER
